 Case 2:25-cr-20438-JJCG-DRG ECF No. 1, PageID.1 Filed 06/13/25 Page 1 of 3




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


 United States of America,                      Case No. 25-20438

       Plaintiff,                               Judge Jonathan J.C. Grey

 v.
                                               Violation: 18 U.S.C. § 641
 Nola Young,                                              [Misdemeanor]

      Defendant.
 _____________________________/


                                 INFORMATION

THE UNITED STATES ATTORNEY CHARGES:

                                 COUNT ONE
         18 U.S.C. § 641 - Theft of Government Funds (Misdemeanor)

      In or around the month of January 2020, in the Eastern District of Michigan,

Southern Division, the defendant Nola Young willfully and knowingly did

embezzle, steal, purloin, and convert to her use money of the Social Security

Administration, a department or agency of the United States, to wit: Social

Security Act, Title XVI, Supplemental Security Income (SSI) benefits, to which

she was not legally entitled; all in violation of Title 18, United States Code,

Section 641.
 Case 2:25-cr-20438-JJCG-DRG ECF No. 1, PageID.2 Filed 06/13/25 Page 2 of 3




JEROME F. GORGON JR.
United States Attorney


s/ Ryan A. Particka
RYAN A. PARTICKA
Assistant United States Attorney
Chief, White Collar Crime Unit

s/ Corinne M. Lambert
CORINNE M. LAMBERT
Special Assistant U.S. Attorney


Dated: June 13, 2025
                              Case 2:25-cr-20438-JJCG-DRG ECF No. 1, PageID.3 Filed 06/13/25 Page 3 of 3


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